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September 14, 2022

Via FOIA Portal

U.S. Department of Health and Human Services
200 Independence Ave SW
Washington, D.C. 20201

VIA ELECTRONIC MAIL – FDAFOIA@fda.hhs.gov

Director, Office of the Executive Secretariat
U.S. Food and Drug Administration
5630 Fishers Lane, Room 1050
Rockville, MD 20857

Freedom of Information Act Request: Ivermectin Use for COVID-19
Treatment

Dear FOIA Officer:

America First Legal Foundation is a national, nonprofit organization working to
promote the rule of law in the United States, prevent executive overreach, and ensure
due process and equal protection for all Americans, all to promote public knowledge
and understanding of the law and individual rights guaranteed under the
Constitution and laws of the United States. To that end, we file Freedom of
Information Act (FOIA) requests on issues of pressing public concern, then
disseminate the information we obtain, making documents broadly available to the
public, scholars, and the media. Using our editorial skills to turn raw materials into
distinct work, we communicate with a national audience through traditional and
social media platforms. AFL’s email list contains over 34,000 unique addresses, our
Facebook page has over 61,000 followers, our Twitter page has over 20,000 followers,
the Twitter page of our Founder and President has over 212,000 followers, and we
have another 31,000 followers on GETTR.

AFL requests the following records under the Freedom of Information Act (FOIA), 5
U.S.C. § 552.

I. Custodians

   a. Janet Woodcock
   b. Rick Bright

                            611 Pennsylvania Ave SE #231
                                Washington, DC 20003
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      c. Gary Disbrow
      d. Denise Hinton

II. Requested Records

We request the following records for the above four custodians during the timeframe
of March 1, 2020, to August 1, 2021:

      A. All records, including but not limited to email, texts, memoranda, and
         handwritten notes, including the words “ivermectin,” “early (drug) treatment,”
         “early treatment,” “remdesivir,” or “horse.”

      B. All calendar items that contain the terms “ivermectin,” “early (drug)
         treatment,” “early treatment,” “remdesivir,” or “horse.”

      C. All communications, including but not limited to emails, between Janet
         Woodcock and Rick Bright.

      D. All records of or regarding the processing of this request.

III.     Processing Requirements

The Department must comply with the processing guidance in the Attorney General’s
Memorandum on Freedom of Information Act Guidelines.1

IV.      Fee Waiver

Per 5 U.S.C. § 552(a)(4)(A)(iii) and 6 CFR § 5.11(k), AFL requests a waiver of all
search and duplication fees associated with this request. We believe AFL’s non-
commercial commitment to public education and transparency justify this fee waiver.
We are, of course, available to provide additional information in writing or offline in
support of this request.

V.       Production

To accelerate the release of responsive records, AFL welcomes production on an
agreed rolling basis.

If possible, please provide responsive records in an electronic format by email.
Alternatively, please provide responsive records in native format or in PDF format
on a USB drive. Please send any responsive records being transmitted by mail to
America First Legal Foundation, 611 Pennsylvania Ave SE #231, Washington, DC
20003.

1 U.S. Dep’t Just. (Mar. 15, 2022), https://tinyurl.com/4duy4r5k.

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VI.   Conclusion

If you have any questions about how to construe this request for records or believe
further discussions regarding search and processing would facilitate a more efficient
production of records of interest to AFL, please do not hesitate to contact me at
FOIA@aflegal.org. Finally, if AFL’s request for a fee waiver is not granted in full,
please contact us immediately upon making that determination.


                                             Sincerely,

                                             /s/ Reed D. Rubinstein
                                             Reed D. Rubinstein
                                             America First Legal




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